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                                UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF NEW YORK

JOHN M. DOMURAD                                                                 James M. Hanley Federal Building
Clerk                                                                           P.O. Box 7367, 100 S. Clinton St.
                                                                                Syracuse NY 13261-7367
DANIEL R. MCALLISTER                                                            (315) 234-8500
Chief Deputy

                                               November 11, 2018

        Isaac Rabicoff, Esq.
        Rabicoff Law LLC
        73 W. Monroe Street
        Chicago, IL 60603

        RE: Encoditech LLC vs. Welch Allyn, Inc.
        NYND CASE NO. 5:18-cv-1320 (BKS/TWD)

        Dear Sir or Madam:

        Please be advised that the above case was filed November 9, 2018, in the Northern District of
        New York. You are directed to advise this Court in writing, within fourteen (14) days from the
        date of this Notice, if you will remain as counsel of record, and if so, your formal admission is
        required.

        As of January 16, 2018, the Northern District of New York became a NextGen Court. This
        means all attorneys MUST have an individual PACER account, and request admission via
        PACER. If you will be seeking Permanent Admission, instructions can be found on our website
        at: http://www.nynd.uscourts.gov/sites/nynd/files/Permanent_Admission_Instructions.pdf. If you
        will be seeking Pro Hac Vice Admission, instructions can be found by using the following link:
        http://www.nynd.uscourts.gov/sites/nynd/files/PHV_Admission_Instructions.pdf. Otherwise, new
        counsel should file a notice of appearance as soon as possible.

        The parties are advised that all future filings and inquiries should be made in accordance with the
        Local Rules of this Court, and that all documents filed with the Court shall contain the case
        number listed above.

                                          Very Truly Yours,

                                          JOHN M. DOMURAD, CLERK


                                          By: s/Matthew Bartholomew, Case Processing Specialist



        Encs.
        cc: All Counsel of Record (via CM/ECF)
            NDNY File
